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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

   

 

 

UNITED STATES OF AMERICA, §
v. § Crim. Action No. 19-0018 (ABJ)
ROGER JASON STONE, JR., §
Defendant. §
)
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For the reasons stated on the record, the Court finds that the case is “so complex ‘. . . that
it is unreasonable to expect adequate preparation for pretrial proceedings or for the trial itself
within the time limits” of the Speedy Trial Act, 18 U.S.C. § 3l6l(h)(7)(B)(ii), and that the
interests of justice would be served by excluding “the reasonable time necessary for effective
preparation, taking into account the exercise of due diligence.” 18 U.S.C. § 3l6l(h)(7)(B)(iv).

Therefore, it is ORDERED that the case is designated as complex; the time between the
entry of this order and the next scheduled hearing in the matter on March 14, 2019 will be
excluded from the speedy trial calculation; the ends of justice will be served by doing so; and

this action outweighs the interest of the public and the defendant in a speedy trial.

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AM‘Y BERMAN JACKsoN
United States District Judge

DATE: February l, 2019

 

